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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

LEVI STRAUSS & CO.,
Plaintiff,
v.

SHENZHEN BARFLIN INVESTMENT CoO.,
LTD., et al.,

Defendants.

 

 

Case No. 18-cv-07459
Judge Charles R. Norgle

Magistrate Judge Maria Valdez

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on February 7, 2019 [42], in

favor of Plaintiff Levi Strauss & Co. (““LS&Co.”) and against the Defendants Identified in

Schedule A in the amount of one million dollars ($1,000,000) per Defaulting Defendant for

willful use of counterfeit LEVI’S Trademarks in connection with the offer for sale and/or sale of

products through at least the Defendant Internet Stores, and LS&Co. acknowledges payment of

an agreed upon damages amount, costs, and interest and desires to release this judgment and

hereby fully and completely satisfy the same as to the following Defendants:

 

 

 

 

 

Defendant Name Line No.
dnstore 114
Freesion Fashion Shop 134

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 
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Dated this 24th day of May 2019. Respectfully submitted,

Abhi

Amy C. Zieglér

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Counsel for Plaintiff Levi Strauss & Co.

Subscribed and sworn to me by RiKaleigh C. Johnson, on this 24th day of May 2019.

Given under by hand and notarial seal.

Wr Sv—

Notary Public

 
 

CAITLIN SCHLIE
Official Seal
Notary Public - State of Iitinois
My Commission Expires Nov 20, 2021

    
   
   

State of Hlinois
County of Cook
